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14
                             UNITED STATES DISTRICT COURT
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             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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     HUMANA INC.,
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                Plaintiff,
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        v.
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                                                          2:19-cv-06926
                                                Case No. ______________________
21                                              DEMAND FOR JURY TRIAL
     MALLINCKRODT ARD LLC (f/k/a
22
     Mallinckrodt ARD Inc., f/k/a Questcor
23
     Pharmaceuticals, Inc.), and
24
     MALLINCKRODT PLC,
25
                Defendants.
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                                           COMPLAINT
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 1                                         COMPLAINT
 2          Plaintiff Humana Inc. (“Plaintiff” or “Humana”), complains against Defendants
 3   Mallinckrodt ARD LLC, formerly known as Questcor Pharmaceuticals, Inc.
 4   (“Questcor”), and its parent corporation Mallinckrodt plc (collectively “Defendants,”
 5   “Mallinckrodt,” or the “Company”), as follows:
 6                                    I.    INTRODUCTION
 7          1.     This action arises from one of the most outrageous price-gouging schemes
 8   in the history of American medicine.
 9          2.     H.P. Acthar Gel (“Acthar”) is a drug that has been available since 1952,
10   and for nearly half a century, its price was modest. In 2001, a vial of the drug cost $40.
11          3.     But by 2018, the same vial cost over $39,000. This is a 97,500% price
12   increase. It is as if the price of milk increased from $3 to over $2,900 per gallon, or a
13   mortgage payment rose from $2,000 to over $2 million per month.
14          4.     These eye-popping price increases are not an accident, a market anomaly,
15   or a necessary byproduct of legislation. They are the intended result of purposeful and
16   illegal conduct by Acthar’s producers, Mallinckrodt and its predecessor Questcor. This
17   conduct consists of a complex, multipart scheme involving monopoly, bribery,
18   racketeering, fraud, and other deceptive and unfair practices that have imposed
19   exorbitant and pointless costs on those financially responsible for the costs of the drug,
20   including not just patients but also health and Medicare insurers like Humana, the
21   plaintiff here.
22          5.     Though Acthar may be a billion-dollar golden goose for Mallinckrodt
23   today, its origins were humble. The drug is an adrenocorticotropic hormone (“ACTH”)
24   analogue produced from the pituitary gland of pigs. It was invented in the late 1940s by
25   the meat company Armour, as a byproduct of pork-processing operations. At the time,
26   Acthar was considered a miracle drug because it stimulated the body’s production of
27   cortisol, provoking a natural anti-inflammatory response that was beneficial for the
28   treatment of various conditions. Acthar was given broad approval by the FDA in 1952

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 1   to treat a wide range of ailments at a time when such broad approvals were
 2   commonplace and did not require support from clinical trials.
 3         6.     This also occurred before the commercial development of synthetic steroid
 4   drugs (corticosteroids) and many popular non-steroidal anti-inflammatory drugs
 5   (NSAIDs), such as ibuprofen. The advent of these safe, cheap alternative treatments in
 6   pill form reduced the need for an injectable drug derived from the pituitary gland of
 7   pigs. By the 1990s, only a few key uses remained for Acthar. For example, Acthar
 8   remains the standard of care for infantile spasms, a rare but catastrophic epileptic
 9   syndrome affecting babies and toddlers two years old or younger. But other than this
10   and a handful of similarly rare conditions, Acthar is—especially for older patients who
11   are Medicare beneficiaries, such as Humana members—either a drug of last resort or
12   not known to be clinically effective.
13         7.     Consequently, the drug became unprofitable for its manufacturer, Aventis
14   Pharmaceuticals, Inc., which had considered stopping production. But the drug was
15   saved in 2001, when Mallinckrodt’s predecessor Questcor purchased the right to
16   produce this unprofitable and largely outdated drug for $100,000 plus modest royalties,
17   seeing it as a potential gold mine for exploitation.
18         8.     Thereafter began a run of outrageous price increases. The cost of Acthar
19   ballooned from $40 in 2001, to $750 immediately after it was acquired, to $1,650 by
20   2007. In that year the price was jacked up to $23,269 per vial. But the increases did not
21   stop or reverse course: instead the price of Acthar was increased eight more times so
22   that by 2018, the drug cost $38,892 per vial. And since treatment with Acthar usually
23   requires at least three vials, a single course of treatment can cost nearly $120,000. The
24   following charts the course of Acthar pricing:
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12         9.     In just over a decade, Acthar went from a nearly extinct, financial sinkhole
13   to a billion-dollar cash machine. In August 2014—in the midst of this meteoric price
14   rise—Questcor merged into Mallinckrodt in a deal worth approximately $5.6 billion. At
15   the time, Acthar was the only drug product sold by Questcor.
16         10.    Mallinckrodt has been able to inflate and maintain the shocking price
17   increases of Acthar mainly through three types of improper conduct.
18         11.    First, Mallinckrodt eliminated the competition. It did so by acquiring and
19   then shelving the rights to Acthar’s much cheaper synthetic equivalent ACTH, a drug
20   called Synacthen Depot (“Synacthen”). Drug giant Novartis AG (“Novartis”) was
21   already selling Synacthen in Europe, Asia, and Latin America, but the drug was not
22   approved for use in the United States. After Novartis launched an auction for
23   Synacthen, Mallinckrodt substantially outbid the competition for the rights to
24   Synacthen in the U.S. But rather than undertake the process of obtaining FDA approval
25   for the only drug that was a direct competitor of its best-selling product, Mallinckrodt
26   never seriously attempted to bring Synacthen to market for any clinical use for which
27   Acthar was approved. This kept the price of Acthar artificially high. In addition,
28   Mallinckrodt vertically integrated its sales by distributing Acthar exclusively through

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 1   the specialty pharmacy CuraScript. CuraScript had no role in decisions on Acthar’s
 2   pricing. Because of Mallinckrodt’s anticompetitive behavior, the FTC and several states
 3   sued it for antitrust violations and later reached a $100 million settlement, as well as an
 4   agreement that Mallinckrodt would sublicense its Synacthen rights to a third party.
 5         12.    Second, Mallinckrodt increased and then maintained artificially high
 6   demand for Acthar by using a charitable foundation for the illegal purpose of paying
 7   patient co-pays. This fund—initially called the Chronic Disease Fund, now doing
 8   business as Good Days—provided “patient assistance” funds for Acthar only, and not
 9   for other drugs. Mallinckrodt financed the foundation, directed patients to the fund, paid
10   their co-pays as “donations,” and then marketed the drug as “free.” In other words, it
11   was a bribe to patients and a vehicle through which Mallinckrodt could persuade
12   physicians that the astronomical price of the drug should not be a barrier to prescribing
13   it. It also constituted a fraud on Medicare, which is why the Department of Justice
14   recently brought claims against Mallinckrodt under two federal statutes, the False
15   Claims Act, 31 U.S.C. §§ 3729-3733, and the Anti-Kickback Statute, 42 U.S.C. §
16   1320a-7b(b). In addition, this conduct constituted a fraud on Humana (one of the
17   nation’s largest sponsors of Medicare Advantage plans) and an intentional interference
18   in Humana’s relationship with its insureds, because it removed the incentive for patients
19   to exercise the responsibility ordinarily imposed by co-pays, deductible limits, and
20   other out-of-pocket costs set forth in Humana’s agreements with its insureds.
21         13.    Third, Defendants simultaneously maintained this artificially high demand
22   through a pervasive bribery scheme to doctors. It should go without saying that doctors
23   would not otherwise be inclined to prescribe what for most purposes is an antiquated
24   and expensive drug that requires refrigeration and injection when cheaper, more
25   effective pills and remedies were available. Furthermore, though Acthar is a first-line
26   treatment for infantile spasms, that market is small and Mallinckrodt sought to redirect
27   its marketing efforts away from the poor public-relations consequences of earning
28   billions of dollars off the backs of sick children. Consequently, Mallinckrodt

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 1   aggressively marketed the drug for the treatment of conditions more common among
 2   adult patients, including those eligible for Medicare. So under the guise of “education”
 3   and “marketing,” Mallinckrodt paid millions of dollars to thousands of doctors to
 4   encourage the use of Acthar even for conditions where it is not the first-line treatment.
 5   Though payment of modest expenses to doctors by pharmaceutical companies may
 6   frequently be lawful and harmless, here Mallinckrodt crossed well over the line by
 7   paying thinly disguised bribes to at least 20 doctors—mainly rheumatologists,
 8   neurologists, and nephrologists—responsible for a significant number of prescriptions.
 9   Mallinckrodt paid this group of physicians at least $250,000 each over a three-year
10   period. Not surprisingly, physicians who received more than $10,000 from
11   Mallinckrodt prescribed more than double the amount of Acthar as those who received
12   $25 or less. Also not surprising: fewer than 10% of Acthar prescriptions are now for
13   treatment of infantile spasms.
14            14.   Humana, a Medicare Part D provider, has paid more than $700 million
15   over more than eight years for Acthar. It paid an inflated price due to Mallinckrodt’s
16   monopolization and racketeering, and reimbursed unnecessary Acthar treatments due to
17   the prescribing doctors’ misrepresentations that they had not received any illegal
18   kickbacks. By this action, Humana seeks to recoup from Mallinckrodt its ill-gotten
19   gains.
20                                        II.     PARTIES
21            15.   Humana. Plaintiff Humana Inc. (“Humana”) is a Delaware corporation
22   with its principal place of business at 500 West Main Street, Louisville, Kentucky.
23   Humana and its subsidiaries are providers of healthcare related services, including
24   insuring risk for prescription drug costs for more than eight million members in all 50
25   states, the District of Columbia, and Puerto Rico. More than 75% of Humana’s total
26   premium revenues in the year 2012 were derived from contracts with the federal
27   government, including Medicare Part D prescription drug coverage and Medicare
28   Advantage plans. Humana operates its insurance businesses through a variety of wholly

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 1   owned subsidiaries, all of which have assigned their relevant claims in this action to
 2   Humana.1
 3         16.    Mallinckrodt. Defendant Mallinckrodt ARD LLC has its principal place
 4   of business at 1425 Route 206, Bedminster, NJ, 07921. Mallinckrodt ARD LLC was
 5   previously named Mallinckrodt ARD, Inc., and before that was named Questcor
 6   Pharmaceuticals, Inc.
 7         17.    Mallinckrodt ARD LLC is a subsidiary of defendant Mallinckrodt plc, an
 8   Irish public limited company. On April 4, 2014, Mallinckrodt plc entered into an
 9   Agreement and Plan of Merger with Questcor and absorbed Questcor as a wholly
10   owned subsidiary on August 14, 2014 for approximately $5.6 billion. At all times
11   relevant to this action, Mallinckrodt plc was an active participant in the schemes of its
12   subsidiary, acting with knowledge of its subsidiary’s conduct. Indeed, it was the then-
13   existing and proposed conduct of Questcor that caused Mallinckrodt to acquire
14   Questcor in the first place.
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             Some of the subsidiaries through which Humana conducts insurance business
19   include: Arcadian Health Plan, Inc., CarePlus Health Plans, Inc., Cariten Health Plan,
     Inc., Cariten Insurance Company, CHA HMO, Inc., CompBenefits Insurance Company,
20   Emphesys Insurance Company, Health Value Management, Inc. d/b/a ChoiceCare
21   Network, Humana Behavioral Health, Inc., HumanaDental, Inc., Humana Benefit Plan
     of Illinois, Inc., Humana Employers Health Plan of Georgia, Inc., Humana Health
22   Benefit Plan of Louisiana, Inc., Humana Health Company of New York, Inc., Humana
23   Health Insurance Company of Florida, Inc., Humana Health Plan of California, Inc.,
     Humana Health Plan of Ohio, Inc., Humana Health Plan of Texas, Inc., Humana Health
24   Plan, Inc., Humana Health Plans of Puerto Rico, Inc., Humana Health Plan of Ohio,
25   Inc., Humana Insurance Company, Humana Insurance Company of Kentucky, Humana
     Insurance Company of New York, Humana Medical Plan of Michigan, Inc., Humana
26   Insurance of Puerto Rico, Inc., Humana Medical Plan of Michigan, Inc., Humana
27   Medical Plan of Pennsylvania, Inc., Humana Medical Plan of Utah, Inc., Humana
     Medical Plan, Inc., Humana Pharmacy Solutions, Inc., Humana Regional Health Plan,
28   Inc., and Humana Wisconsin Health Organization Insurance Corporation.

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 1         18.    Questcor survived the merger as a wholly owned indirect subsidiary of
 2   Mallinckrodt plc and continued to market Acthar thereafter, until changing its name to
 3   Mallinckrodt ARD, Inc. on July 27, 2015.
 4         19.    On January 26, 2019, Mallinckrodt ARD, Inc. converted to Mallinckrodt
 5   ARD LLC and it continues to market Acthar to this day.
 6         20.    Mallinckrodt’s Unnamed Agents and Co-Conspirators. Mallinckrodt
 7   was joined in its scheme by several persons or groups of persons who served as agents,
 8   co-conspirators, aiders and abettors, or otherwise acted in concert in connection with
 9   Mallinckrodt’s Acthar price schemes that have not been named as defendants in this
10   matter but are nonetheless important to the claims herein.
11         21.    The Competitor. Novartis marketed and sold Synacthen outside of the
12   United States, and owned exclusive rights to sell Synacthen in the U.S. On information
13   and belief, Novartis agreed to sell the Synacthen U.S. rights to Questcor with
14   knowledge that Questcor did not intend to bring Synacthen to market to compete with
15   Acthar.
16         22.    The Consultant. BioSolutia Inc., now known as CareMetx, LLC
17   (“BioSolutia”) is a Maryland-based firm that provided health-care consulting services to
18   Mallinckrodt, including through an individual consultant (the “BioSolutia Consultant”)
19   who was retained full time to work on Acthar, and who helped design and implement
20   Mallinckrodt’s schemes.
21         23.    The Agents. Acthar is a “specialty pharmaceutical” and generally
22   unavailable at most retail pharmacies. It is instead available primarily in specialty
23   pharmacies, which focus on high-cost, high-complexity, and/or high-touch medication
24   therapy for patients with complex disease states.
25         24.    Because of this, in June 2007, Mallinckrodt agreed with Express Scripts
26   Holding Company (“Express Scripts”), a Missouri-based pharmacy benefit
27   management company, to provide integrated services critical to the scheme and to do so
28   through certain of Express Scripts’ subsidiaries. Each of these subsidiaries had separate

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 1   functions, but their coordinated purpose was to support and maintain Mallinckrodt’s
 2   inflated Acthar prices, including by acting as Mallinckrodt’s agent for purposes of
 3   pricing.
 4         25.    Priority Healthcare Distribution Inc., doing business as CuraScript SD
 5   (“CuraScript”), a Florida-based specialty pharmacy distributor, served as
 6   Mallinckrodt’s exclusive distributor for Acthar. CuraScript was engaged by
 7   Mallinckrodt to deliver Acthar to the network of specialty pharmacies (including
 8   Humana Pharmacy), who then deliver the medicine to patients’ homes. CuraScript may
 9   have been aided in this function by CuraScript, Inc., doing business as CuraScript SP
10   Specialty Pharmacy, which itself operates specialty pharmacies in the United States.
11   Both CuraScript and CuraScript SP Specialty Pharmacy were subsidiaries of Express
12   Scripts.
13         26.    United BioSource Corporation, formerly known as HealthBridge and now
14   known as United BioSource LLC (“UBC”), a Pennsylvania-based company, provided
15   pharmaceutical support services. During the most of the relevant time period, UBC was
16   also an Express Scripts subsidiary, though Express Scripts completed its sale of UBC to
17   a private equity firm in 2018. UBC designed and operationalized patient access centers
18   that assist patients and prescribers with navigating prescription drug coverage and
19   pharmacy options through patient access programs, including patient assistance
20   programs, reimbursement, alternate funding and compliance services. UBC was
21   engaged by Mallinckrodt to act as the administrator for the reimbursement of Acthar,
22   interacting directly with patients and third-party payors by coordinating various patient-
23   assistance programs, including the ASAP and PAP programs described further below.
24         27.    Accredo Health Group, Inc., doing business as Liberty Pennsylvania,
25   Medco Health Solutions, Liberty Texas, Gentiva, or Gentiva Health Services
26   (“Accredo”), is also an Express Scripts subsidiary. Accredo is a specialty pharmacy
27   services company that assists patients in obtaining medications, including by
28   advocating for insurance coverage of the drug.

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 1            28.   As applied to Acthar, UBC acted as the hub between these entities,
 2   designing and coordinating Acthar’s sale, distribution, and reimbursement through its
 3   patient access programs. So, for example, when a doctor prescribes an initial or renewal
 4   course of Acthar to a patient, the prescription is sent to the “Acthar Hub” and a case
 5   manager is assigned to the patient through UBC or Accredo, which performs
 6   administrative services associated with obtaining insurance coverage of the drug from
 7   insurers such as Humana. Payment by the insurer or other payor is then made to
 8   CuraScript, which ships the medication to specialty pharmacies or directly to the
 9   patient. As set forth further below, CuraScript has no role in setting the price, which is
10   functionally set by Mallinckrodt alone. CuraScript merely acts as Mallinckrodt’s agent,
11   collecting payment and shipping the medication.
12            29.   The Charity. Chronic Disease Fund, Inc. (“CDF”) is a Texas-based
13   501(c)(3) organization that now goes by the name Good Days From CDF or simply
14   Good Days. Its putative mission is to provide co-pay assistance and other financial
15   support to patients who meet the charity’s application criteria.
16            30.   The Prescribing Doctors. Mallinckrodt paid certain physicians (the
17   “Prescribing Doctors”) substantial sums to promote Acthar over other treatments. The
18   Prescribing Doctors agreed with Mallinckrodt to promote and prescribe Acthar without
19   disclosing to Humana or other payors their remuneration from Mallinckrodt. Not all of
20   the Prescribing Doctors are known to Humana, and discovery is needed to identify them
21   fully.
22                            III.   JURISDICTION AND VENUE
23            31.   This court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331,
24   because this action arises under the laws of the United States, including the Sherman
25   Act, 15 U.S.C. § 1, et seq., and 28 U.S.C. §1964(c), because this action alleges
26   violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18
27   U.S.C. § 1962.
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 1          32.   This Court has personal jurisdiction over Defendants pursuant to 15 U.S.C.
 2   § 53(b) because each Defendant has the requisite constitutional contacts with the United
 3   States of America.
 4          33.   This court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over
 5   violations of state law, including state common law claims.
 6          34.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and
 7   (c), and 18 U.S.C. § 1965.
 8          35.   A substantial part of the events giving rise to this action occurred in this
 9   judicial district. Questcor Pharmaceuticals Inc.—later renamed Mallinckrodt ARD
10   Inc.—was until January 26, 2019 a California corporation. Prior to its 2014 acquisition
11   by Mallinckrodt, Questcor was headquartered in Anaheim, California, in this judicial
12   district. Several of the co-conspirator Prescribing Doctors are also located in the state of
13   California, including one Prescribing Doctor whose offices are located in Los Angeles,
14   California in this judicial district. Furthermore, Humana has more than 575,000
15   insureds in the state of California. Humana’s operating subsidiary in California,
16   Humana Health Plan of California, is located in Irvine, California in this judicial
17   district.
18                              IV.   FACTUAL ALLEGATIONS
19                A.      Humana
20          36.   Congress established Medicare in 1965 to provide health insurance
21   coverage for people aged sixty-five or older and for people with certain disabilities or
22   afflictions. In 2003, Congress established a voluntary prescription drug benefit program
23   for Medicare enrollees known as Medicare Part D. Under Medicare Part D, Medicare
24   contracts with private entities, known as Part D Plan Sponsors, to administer
25   prescription drug plans.
26          37.   Under the Medicare statute, a Part D beneficiary may be required to make
27   a partial payment for the cost of prescription drugs in the form of a co-payment,
28   coinsurance, or deductible (collectively “co-pays”). The co-pays can be substantial for

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 1   expensive medications and vary throughout the year, depending on a beneficiary’s total
 2   Part D covered expenses incurred that year up to that point.
 3         38.    Medicare co-pays exist to encourage physicians and beneficiaries to be
 4   efficient consumers of federally reimbursed health care products, while also
 5   encouraging those manufacturing such products to price them based on market forces
 6   such as consumer sensitivity and competition. Manufacturers paying the Medicare co-
 7   pays of those seeking to buy their drug circumvent this congressionally designed check
 8   on health care costs. As the United States Department of Health and Human Services,
 9   Office of the Inspector General has observed, drug manufacturers paying the Medicare
10   Part D co-pays of patients taking their products “eliminat[e] a market safeguard against
11   inflated prices.” HHS-OIG, Special Advisory Bulletin on Patient Assistance Programs
12   for Medicare Part D Enrollees, 70 Fed. Reg. 70623, 70625 (Nov. 22, 2005).
13         39.    Humana operates or administers Medicare Part D plans on behalf of the
14   federal and state governments for millions of members. Humana also provides coverage
15   for pharmaceuticals, including Acthar, through other plans, including medical insurance
16   (Medicare Part B), Medicare Advantage (Medicare Part C), Medicaid, and commercial
17   healthcare plans. Through its administration of these plans, Humana bears significant
18   risk that the costs and utilization of healthcare services will rise. When Humana
19   assumes these risks it relies in large part on the protections afforded by law against
20   submissions of false or fraudulent claims to government healthcare providers.
21         40.    Humana’s agreements with its providers include a provision that requires
22   the provider to certify its compliance with state and federal law, as well as rules
23   promulgated by government entities such as the Centers for Medicare & Medicaid
24   Services (“CMS”), a division of the Department of Health and Human Services that
25   administers Medicare and Medicaid. These contractual provisions are essential for
26   Humana to ensure that it receives prompt payments and reimbursements from CMS for
27   valid claims, and to ensure that it does not pay invalid claims that might increase costs
28   to both itself and Medicare.

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 1         B.     Acthar
 2         41.    Acthar is an ACTH analogue used as an anti-inflammatory. Though its
 3   exact mechanism of operation is unclear, it is believed to stimulate the body’s own
 4   steroidal hormones (such as cortisol and corticosterone), as well as to affect the body’s
 5   steroid-independent immunomodulatory and anti-inflammatory pathways.
 6         42.    Acthar’s active ingredient is extracted from pig pituitary glands. It was
 7   invented in 1948 by the pharmaceutical division of the Armour meatpacking and
 8   processing company. The original form of ACTH had a half-life of only 10 minutes, so
 9   Acthar was developed for clinical use by creating a repository gel tailored to a patient’s
10   individual needs. The gel must be refrigerated and is applied through either an
11   intramuscular or a subcutaneous depot injection (i.e., an injection that deposits the drug
12   in a localized mass, which is gradually absorbed by the body over an extended period).
13         43.    Acthar’s invention either was roughly contemporaneous with, or preceded,
14   the development of certain corticosteroids, a class of steroids that can also be used to
15   fight inflammation. Well-known examples of corticosteroids include hydrocortisone
16   and prednisone. Acthar’s invention also predated the discovery of ibuprofen and certain
17   over-the-counter NSAIDs in pill form that are also used to combat inflammation.
18         44.    The U.S. Food and Drug Administration (“FDA”) first approved Acthar
19   for marketing in the United States in 1952. This was before drugs were required to
20   demonstrate “substantial evidence” of the efficacy for a marketed indication. Its original
21   label lacked evidence from controlled clinical trials.
22         45.    Acthar was approved to treat multiple sclerosis (“MS”) in 1979. Today, it
23   is approved for treatment of exacerbations of MS and also for indications of diseases
24   and disorders that include rheumatic, collagen, dermatologic, and allergic states, as well
25   as ophthalmic, respiratory, and edematous states. Specifically, these include idiopathic
26   membranous nephropathy, the largest single cause of nephrotic syndrome, a kidney
27   disorder; rheumatoid arthritis; dermatomyositis and polymyositis (inflammatory
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 1   diseases of the skin and muscles); symptoms of sarcoidosis (a disease that mainly
 2   affects the lungs and lymph glands); and inflammatory conditions of the eye.
 3         46.    However, there remains a lack of evidence to support the use of Acthar for
 4   most indications. The clinical evidence supporting the effectiveness of Acthar in
 5   treating some of these conditions consists of small (fewer than 25 participants)
 6   uncontrolled trials and case reports. For many of these conditions, Acthar is not
 7   considered the first-line treatment.
 8         47.    For most indications, there is also a lack of evidence to support Acthar’s
 9   use over lower-cost synthetic corticosteroids, which can cost as little as $0.20 per pill
10   (less than $20 for a typical course of treatment) as compared to the $39,000 per-vial
11   cost of Acthar (or $117,000 for a three-vial treatment).
12         48.    The only condition for which Acthar may be considered the most effective,
13   “first-line” treatment is infantile spasms, an indication that the FDA approved in 2010.
14         49.    Acthar was owned first by Armour Pharmaceutical Company, then by
15   Rhone-Poulenc Rorer, and until 2001 by Aventis (now Sanofi). To that point, the drug
16   was priced competitively with other anti-inflammatories. But since it was expensive to
17   produce, difficult to apply, and (except for certain indications such as infantile spasms)
18   not known to be more effective than simpler, cheaper, and more widely available drugs,
19   Aventis considered discontinuing production. Questcor acquired worldwide rights to
20   sell and manufacture Acthar from Aventis in July 2001. In view of what would come,
21   the price was a pittance: $100,000, plus modest royalties.
22         C.     Mallinckrodt’s Monopoly Power with Acthar
23                1.     Direct Evidence of Monopoly Power
24         50.    Mallinckrodt has exercised monopoly power in the United States with
25   Acthar. Ever since its acquisition of marketing rights in 2001, Mallinckrodt has charged
26   supracompetitive prices for the drug.
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 1         51.    Immediately after acquiring the rights to sell Acthar, Mallinckrodt’s
 2   predecessor company Questcor increased the price from approximately $40 per vial to
 3   nearly $750 per vial.
 4         52.    By the end of 2006, Acthar accounted for 94 percent of Questcor’s net
 5   sales. On August 27, 2007, Questcor increased the price of Acthar by more than 1,300%
 6   overnight, from $1,650 to $23,269 per vial. The decision to charge tens of thousands for
 7   a vial of Acthar was spearheaded by Questcor’s chief executive, Don Bailey, who spent
 8   most of his career as an executive with a defense contractor, not in the pharmaceutical
 9   industry.
10         53.    Questor has since raised the price of Acthar on multiple occasions since
11   2011 to $38,892 in 2018.
12         54.    Acthar net sales increased from $218 million in 2011 to more than $1
13   billion in 2015.
14         55.    Medicare spending on Acthar increased geometrically from 2011 to 2015,
15   with total spending of nearly $2 billion and more than $600 million in 2016 alone. The
16   following chart reveals how the number of Medicare Part D claims for Acthar has
17   grown by more than 700% from 2011 to 2016:
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24                2.    Further Evidence of Monopoly Power
25         56.    Several factors constitute further evidence of Mallinckrodt’s monopoly
26   power.
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 1         57.    Lack of Competition. Mallinckrodt does not set the price of Acthar by
 2   reference to other drugs prescribed to treat the same indications that Acthar treats.
 3   Acthar is priced substantially higher than non-ACTH drugs used to treat the same
 4   indications. This suggests that there is no competitive constraint on Mallinckrodt’s
 5   ability to set prices. Indeed, Acthar represents 100% of the market for ACTH drugs in
 6   the United States.
 7         58.    For example, Acthar costs nearly four times the amount of Sabril, the only
 8   other FDA-approved drug for the treatment of infantile spasms. But Sabril has a
 9   different molecular structure, works differently, and is prescribed for a smaller set of
10   patients than Acthar. Acthar is also not considered a substitute for several earlier-line
11   treatments for idiopathic membranous nephropathy. Most idiopathic membranous
12   nephropathy patients are treated with low-cost drugs, and more severe cases might be
13   treated with Rituxan, a drug that is still several factors less expensive than Acthar. And
14   as with Sabril, these drugs operate differently than Acthar does.
15         59.    One of the main reasons for the absence of competition or a lower-cost
16   substitute is the unavailability of Synacthen. Mallinckrodt’s conduct with respect to
17   Synacthen is addressed further below.
18         60.    High Barriers to Entry. Despite the lack of patent protection for Acthar, the
19   U.S. ACTH market is still characterized by high barriers to entry. This includes FDA
20   approval, which is required to market drugs to U.S. consumers. Drugs sold outside of
21   the U.S. are therefore not viable substitutes.
22         61.    Furthermore, developing a safe, effective, and reliable substitute would
23   require substantial investments of resources and time, with no guarantee of success.
24   One would have to source the active ingredient, develop a sustained-release depot-
25   injection formulation, scale production, and conduct clinical trials, particularly because
26   Acthar is derived from a biological and not a chemical process. Mallinckrodt’s CEO has
27   assured investors that Acthar “has significant durability in the marketplace” because “it
28   will be very difficult for this product to be replicated in any way [by] a generic.”

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 1                3.      Anticompetitive Conduct in the Acquisition of Synacthen
 2         62.    Synacthen is a synthetic ACTH drug with similar biological activities and
 3   pharmacological effects as Acthar. In Europe, Canada, and other parts of the world,
 4   doctors treat patients with Synacthen for the same conditions that are treated with
 5   Acthar in the U.S.
 6         63.    Questcor itself considered the drugs so similar that it submitted Synacthen
 7   information to support its application to the FDA to expand the label indications for
 8   Acthar. It also cited Synacthen studies in its Acthar marketing materials.
 9         64.    Before June 2013, Novartis marketed and sold Synacthen abroad. For
10   years, Questcor viewed Synacthen as a significant potential competitive threat to its
11   monopoly. Questcor therefore sought to acquire the rights to Synacthen as a defensive
12   move to prevent competitors from acquiring it and developing it as a competitor to
13   Acthar.
14         65.    In late 2011, Novartis decided to divest exclusive rights to seek FDA
15   approval for Synacthen and commercialize it in the United States. Dozens of companies
16   contacted Novartis and expressed interest in acquiring Synacthen. Three firms
17   proceeded through several rounds of negotiations with Novartis, submitted formal
18   offers, and drafted near-final agreements.
19         66.    Each of the three firms planned to develop and use Synacthen to compete
20   directly with Acthar, and to price Synacthen well below Acthar. The three firms had the
21   necessary expertise and financing, as well as sufficient business and regulatory plans, to
22   develop Synacthen for the U.S. market.
23         67.    The Synacthen asset package sold by Novartis included valuable trade
24   secrets, including technical documentation detailing both the precise formulation for the
25   Synacthen drug product and the manufacturing process. Because Synacthen had a long
26   history of safe and effective use abroad, a buyer would not need to begin the research,
27   development, testing, or manufacturing process from scratch. The asset package would
28   therefore substantially lower the barriers to entry in the U.S. ACTH market.

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 1         68.    The bidding process occurred in late 2012 and early 2013. Questcor signed
 2   a confidentiality agreement with Novartis and submitted an offer for Synacthen.
 3   Novartis negotiated with the three alternative bidders in parallel with Questcor, and
 4   each company had exchanged deal terms with Novartis and had submitted a formal
 5   offer. The offers by the three alternative bidders were comparable to each other in value
 6   and structured similarly, and included an upfront payment, milestone payments upon
 7   FDA approval, and significant royalties on U.S. Synacthen sales. Unlike the three
 8   alternative bidders, however, Questcor had only inchoate plans for Synacthen and
 9   conducted limited due diligence when it submitted its initial offer to Novartis. It
10   nevertheless submitted a bid several multiples higher than the other bidders.
11         69.    On June 11, 2013, Questcor and Novartis entered into a Licensing
12   Agreement, Asset Purchase Agreement, and Supply Agreement (collectively, “the
13   Agreements”), that gave Questcor exclusive rights to develop, market, and sell
14   Synacthen in the United States. Under the Agreements, Questcor is obligated to pay a
15   minimum of $135 million to Novartis for Synacthen.
16         70.    On information and belief, Novartis knew and understood that Questcor
17   did not intend to develop Synacthen. This may be inferred from the fact that Questcor’s
18   bid for Synacthen was substantially higher than that of its competitors, even though
19   Questcor had done far less, and was in a worse position, to bring Synacthen to market.
20   In addition, Novartis was not naïve, and could be expected to understand that Questcor
21   would have little interest in developing the only synthetic competitor to Acthar, its
22   extraordinarily lucrative non-synthetic product.
23         71.    Questcor claimed that it acquired Synacthen to develop it for new, non-
24   Acthar indications, but given the drugs’ similarities, any therapeutic indication that
25   Questcor might have pursued with Synacthen could have been pursued with Acthar.
26         72.    Fourteen months after acquiring Synacthen, Mallinckrodt plc acquired
27   Questcor for $5.6 billion, an amount almost entirely attributable to the value of Acthar.
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 1         73.    Neither Questcor nor Mallinckrodt made more than superficial efforts to
 2   pursue commercialization of Synacthen, however. Instead Mallinckrodt chose to shelve
 3   the asset and thereby to protect Acthar monopoly pricing.
 4         74.    This conduct led the U.S. Federal Trade Commission (“FTC”), joined by
 5   the states of Alaska, Maryland, New York, Texas, and Washington, to bring an action
 6   against Mallinckrodt under the FTC Act, Section 2 of the Sherman Act, and state
 7   antitrust laws. On January 18, 2017, the FTC announced that Mallinckrodt had agreed
 8   to pay $100 million to settle the suit. The parties also filed and the court approved a
 9   stipulated court order requiring Questcor to grant a license to develop Synacthen to treat
10   infantile spasms and nephrotic syndrome to a licensee approved by the FTC. On July
11   14, 2017, the FTC announced that it had approved a sublicense granting West
12   Therapeutic Development, LLC certain rights to develop and market Synacthen in the
13   United States.
14                4.     Mallinckrodt’s Sales of Acthar to Humana and its Members
15         75.    Mallinckrodt has complete control over the price of Acthar and has on
16   many occasions increased its price without negotiating with any of the purchasers or
17   consumers of Acthar. Mallinckrodt is the sole entity with control over the wholesale
18   acquisition cost (WAC) of Acthar that determines the price at which Acthar is sold
19   throughout the pharmaceutical distribution chain. No other company has any influence
20   over the price of Acthar in the marketplace.
21         76.    Humana is obligated to and does pay the price of Acthar that Mallinckrodt
22   sets. Mallinckrodt has purposefully sought to insulate itself from liability for the pricing
23   of Acthar by engaging its co-conspirator Express Scripts as an intermediary in the sale
24   of Acthar to all other purchasers. Express Scripts’ CuraScript SD unit serves as the
25   exclusive distributor of Acthar. But CuraScript SD has no independent authority to set
26   the price of Acthar and bears no risk from Acthar sales. CuraScript bears no pricing risk
27   for Acthar because it is guaranteed an adjustment in its acquisition costs if Mallinckrodt
28   changes the price of Acthar. Furthermore, CuraScript is paid a fixed fee for each vial of

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 1   Acthar that is sold by Mallinckrodt (CuraScript SD does no marketing or selling of
 2   Acthar) so it does not incur any benefit or cost based on the price of Acthar. In 2009
 3   that fixed fee was set at $230 per vial. CuraScript bears no risk of holding Acthar in
 4   inventory because Mallinckrodt has agreed to accept returns of any Acthar which goes
 5   unsold before its expiration date. With respect to sales of Acthar, CuraScript is
 6   completely controlled by Mallinckrodt and acts merely as its agent.
 7         77.    In addition to dictating its actions through contractual terms, Mallinckrodt
 8   confirmed that CuraScript SD was subject to its control by telling the SEC that if
 9   CuraScript SD were to fail to perform in the way that it wished, it could quickly and
10   easily switch to a distributor who would provide “equivalent services.” CuraScript SD
11   had no choice but to comply with Mallinckrodt’s directives because it was at risk of
12   being terminated and replaced with a distributor that would. Furthermore, CuraScript
13   SD’s parent, Express Scripts, had many other lucrative consulting, administrative
14   services, and specialty pharmacy sales arrangements with Mallinckrodt that would also
15   be at risk if CuraScript SD did not perform at Mallinckrodt’s command. CuraScript SD
16   and its parent Express Scripts were not only complicit in, but actively took part in
17   Mallinckrodt’s scheme to further its monopoly in the ACTH drug market. As a co-
18   conspirator and beneficiary of Mallinckrodt’s scheme, there was no realistic possibility
19   that CuraScript SD or its parent Express Scripts would ever bring suit against
20   Mallinckrodt based on its anticompetitive actions.
21         78.    Humana paid for more than $700 million worth of Acthar during the
22   relevant period. Humana’s Acthar purchases were made according to the wholesale cost
23   that Mallinckrodt set and controlled. Humana purchased Acthar from Mallinckrodt’s
24   agent CuraScript SD and also from other specialty pharmacies that fulfilled
25   prescriptions for its members.
26         79.    In 2015, Humana’s commercial insurance division directly contracted with
27   Mallinckrodt for rebates based on its Acthar purchases made for members of Humana’s
28   commercial insurance plans. In January 2017, Humana’s Medicare business entered

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 1   into a second rebate agreement with Mallinckrodt covering purchases made for
 2   members on Humana’s Medicare plans. The claims and causes of action asserted in this
 3   complaint do not arise out of or relate to those agreements, and Humana is not asserting
 4   any claims or seeking any damages for breach of either of these agreements.
 5                5.    Scope of the Antitrust Allegations
 6         80.    Product. The relevant product is ACTH drugs.
 7         81.    Geographic Market. The relevant market is the entire United States.
 8         82.    Time. The relevant period is from 2011 through the present. Humana
 9   specifically alleges that the conduct and patterns of conduct alleged here occurred and
10   continued to occur throughout this period.
11         D.     Mallinckrodt’s Kickback and Racketeering Schemes
12         83.    Mallinckrodt designed and coordinated a multifaceted scheme (the “Acthar
13   Enterprise”) intended to charge and maintain inflated prices for Acthar, including
14   through a conspiracy to defraud payors such as Humana. Built on Mallinckrodt’s
15   monopolistic practices, the scheme consisted of two subsidiary schemes: (1) illicit
16   patient co-pay subsidies through sham charitable funds; and (2) kickbacks to the
17   Prescribing Doctors.
18                1. Patient Co-Pay Subsidies Through Sham Charitable Funds
19         84.    Not long after raising Acthar’s price to over $23,000 per vial in 2007,
20   Questcor knew that it might have priced itself out of the MS market because Acthar had
21   many cheaper, effective competitors in that market. Questcor also understood that, for
22   some insurance plans, the over-$23,000 price could lead to very high patient costs.
23   Medicare Part D beneficiaries, in particular, could owe thousands of dollars in co-pays
24   for one vial of Acthar.
25         85.    Questcor realized that it could overcome doctor and patient cost concerns
26   by subsidizing patient co-pay obligations, and thereby defrauding Medicare Part D
27   payors like Humana. Questcor knew that it was illegal to subsidize Medicare co-pays
28   directly, so it sought to accomplish the same result through a “co-pay assistance fund”

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 1   that it designed, created, and used as a money conduit to pay patient co-pay subsidies
 2   for Acthar (but no other drug).
 3         86.    The operation was spearheaded by the executives of Questcor and aided by
 4   the BioSolutia Consultant, who was retained full-time specifically for the purpose of
 5   assisting with Acthar reimbursement.
 6         87.    By the spring of 2010, Questcor had tried one foundation (“NORD”) but
 7   was dissatisfied with what it considered to be the small scale of the operation, and
 8   looked instead for a foundation where it could fund co-pays on a much larger scale.
 9   This effort resulted in Questcor connecting with CDF to discuss starting a new fund for
10   Questcor.
11         88.    Though CDF already had a fund for MS patients, Questcor sought to
12   establish an “MS Exacerbation Co-pay Fund” distinct from CDF’s existing fund
13   because Questcor did not want to make payments to a fund that might pay the co-pays
14   of MS drugs other than Acthar.
15         89.    After a presentation by CDF, Questcor moved its co-pay programs from
16   NORD to CDF. Questcor and CDF established a new “MS Acute Exacerbation Fund”
17   just for patients with government insurance, such as Medicare Part D, and just for the
18   co-pays of Acthar but no other drugs. For patients with private insurance, Questcor had
19   CDF open a separate Acthar “Private Fund” for Mallinckrodt to send private insurance
20   patients to CDF to have Acthar co-pays paid. That fund also exclusively covered Acthar
21   and Questcor financed that fund. Questcor’s donation agreement falsely represented
22   that the funds were generally for treatment of patients with acute exacerbations of MS,
23   when in fact Questcor knew it was just for patients using Acthar. Questcor thereafter
24   made co-pay assistance an important part of its sales and marketing program.
25         90.    Questcor sent patients to CDF through Questcor’s “reimbursement hub”
26   for Acthar, called the Acthar Support and Access Program (“ASAP”), which was
27   administered by UBC under Mallinckrodt’s direction and control. Questcor and UBC
28   controlled ASAP, which included a call center that received referrals for Acthar from

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 1   physician offices and patients. Questcor’s sales force took steps to ensure that any
 2   Acthar prescriptions were routed through ASAP so that Questcor could track them.
 3   Patients sometimes had their co-pays paid for months or years through the fund.
 4         91.    In 2011, Questcor repeated this scheme in connection with a “Lupus
 5   Exacerbation” fund. Questcor financed the fund. It falsely stated that the fund was for
 6   “any medically appropriate therapy,” when in fact Questcor intended to fund only
 7   Acthar and exclude other therapies. Questcor and UBC referred patients to the fund
 8   through ASAP and tracked the patients thereafter. And through 2014, the Lupus
 9   Exacerbation fund paid the co-pays of Acthar but no other drug, again often for months
10   or years.
11         92.    In 2012, Questcor repeated the scheme yet again for rheumatoid arthritis
12   patients. It created an “RA Exacerbation Fund” at CDF, financed the fund, sent patients
13   to the fund through ASAP with UBC’s assistance, tracked the patients, and paid
14   subsidies for sometimes months’ or years’ worth of refills of Acthar but no other drug.
15         93.    That same year, Questcor became concerned that it would lose referrals to
16   the fund for lack of co-pay assistance. Questcor therefore implemented an “automatic
17   offering” of co-pay assistance to all patients with co-pays greater than $150,
18   administered by UBC through the reimbursement hub. The ASAP program referred
19   over 98 percent of the patients who received co-pay subsidies from the MS, Lupus, or
20   RA Exacerbation funds at CDF.
21         94.    During the same period that Questcor sent Acthar patients to CDF to
22   receive Medicare co-pay subsidies, Questcor also retained NORD to operate a “Patient
23   Assistance Program” (“PAP”) that offered free Acthar to patients who met certain
24   financial criteria and could not afford the drug’s high price. ASAP also sent certain
25   patients to NORD for that purpose. As with ASAP, the PAP program was administered
26   by UBC under Mallinckrodt’s direction and control. But Questcor intentionally did not
27   send Acthar patients with Medicare or other insurance coverage for the drug to the
28   NORD PAP. Instead, Questcor sent those patients to CDF, where they received co-pay

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 1   subsidies to cover their costs and triggered insurance reimbursement for Acthar.
 2   Questcor also required patients to appeal insurance coverage denials of Acthar before
 3   referring them to the PAP. In other words, whenever possible, Mallinckrodt sought to
 4   cause Medicare claims to be submitted for Acthar so that Mallinckrodt could get paid
 5   from a sale of the drug as opposed to giving it away for free through the NORD PAP.
 6         95.    Questcor marketed guaranteed co-pay assistance to physicians and patients
 7   as a way to neutralize concerns about the price and to induce sales and Medicare
 8   reimbursement. This began immediately after establishing the MS Acute Exacerbation
 9   Fund at CDF and continued throughout the relevant time period. For example, company
10   training materials instructed the sales force: “DO NOT APOLOGIZE FOR THE
11   PRICE.” The training instead directed sales representatives to “[r]eview [the] co-pay
12   coverage program” with prescribers who expressed concern about the drug’s price.
13         96.    Furthermore, after Questcor conducted research and discovered that price
14   was an obstacle to more prescriptions, Questcor’s internal remediation plan noted the
15   importance of co-pay support.
16         97.    Questcor’s sales force continued to promote guaranteed Acthar co-pay
17   subsidies through CDF in this manner, with the intent to induce Medicare Part D
18   claims.
19         98.    Questcor monitored its co-pay support programs by receiving detailed
20   financial reports from CDF containing information about how many patients were
21   enrolled in the fund, how much the fund had already paid out, and how much had been
22   allocated to enrolled patients. The reports also stated the percentage of patients
23   approved to receive co-pay subsidies, the average co-pay amount paid by the fund, the
24   total number of resulting drug “dispenses” (broken out by new dispenses vs. refills),
25   and the remaining fund balance. Because these funds paid Acthar co-pays only, all of
26   these reported metrics were specific to Acthar. This gave Questcor the ability to
27   monitor its fund balances and confirm the amount of future payments to CDF necessary
28   to keep paying Acthar co-pay subsidies smoothly.

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 1          99.      The funds worked as planned. After Questcor established the co-pay
 2   conduit at CDF, Questcor achieved significant growth in Acthar MS sales and corporate
 3   revenue. For example, Acthar MS sales nearly quadrupled between the third quarter of
 4   2010 (when Questcor established the MS “acute exacerbation” fund) and the third
 5   quarter of 2013.
 6          100. Questcor also intensified its dramatic price increases. On January 3, 2011
 7   Questcor raised Acthar’s price to over $24,430 per vial. Under six months later, it
 8   raised the price again to over $25,600 per vial. In December 2011, it raised the price to
 9   over $27,300 per vial. In May 2012, it raised the price to over $28,680 per vial. In June
10   2013, it raised the price to over $30,100 per vial. In January 2014, it raised the price to
11   over $31,600 per vial. In December 2014 it raised the price to over $32,200 per vial.
12          101. The Company knowingly and willfully violated the federal Anti-Kickback
13   Statute (“AKS”), 42 U.S.C. § 1320a-7b(b), by paying illegal Acthar co-pay subsidies as
14   described above to induce prescriptions and sales of Acthar reimbursed by Medicare,
15   and knowingly and willfully violated the False Claims Act (“FCA”), 31 U.S.C. §§
16   3729-3733, and its prohibition on submitting, or causing to be submitted, false claims to
17   federal health care programs, including Medicare. The Company’s knowledge and
18   willfulness is evidenced by internal training materials that instructed its employees on
19   these laws and their relevant prohibitions; corporate policies reflecting the Company’s
20   knowledge of its illegality; trade publications and articles circulated among the key
21   executives and consultants warning against the practice; and longstanding and repeated
22   warnings about the practice from the Office of the Inspector General of the United
23   States Department of Health and Human Services.
24          102. On information and belief, Mallinckrodt continued to pay or substantially
25   subsidize required patient co-payments for Acthar after 2014 and continues to do so
26   until today.2
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      Mallinckrodt, “Acthar Reimbursement and Copayment Support,”
28   https://www.actharishcp.com/reimbursement-and-copay (last visited August 4, 2019).

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 1                2.     Physician Kickbacks
 2         103. The second part of the Acthar Enterprise consisted of kickbacks to the
 3   Prescribing Doctors in exchange for increased prescriptions of Acthar.
 4         104. Mallinckrodt’s co-pay subsidies were one way to prop up demand and
 5   receive payment from third-party payors such as Humana. Another was Mallinckrodt’s
 6   aggressive push to move away from prescriptions for infantile spasms and towards
 7   conditions affecting elderly patients, and therefore to increase reimbursement by
 8   Medicare and third-party payors like Humana. Mallinckrodt has heavily marketed
 9   Acthar to neurologists (for MS), to nephrologists (for idiopathic membranous
10   nephropathy and nephrotic syndrome), to rheumatologists (for a variety of conditions
11   including rheumatoid arthritis), to pulmonologists (for sarcoidosis), and to
12   ophthalmologists (for severe allergic or inflammatory eye conditions).
13         105. In 2014 the president of the autoimmune and rare-disease business selling
14   Acthar made a presentation to investors detailing a strategy to expand Acthar’s sales to
15   patients in rheumatology, pulmonology, ophthalmology, dermatology, and kidney
16   disease. In the several decades prior, Acthar had not been prescribed in large quantities
17   for these conditions despite having been FDA approved for such treatments. Although
18   there were no new medical studies suggesting Acthar was needed to treat any of these
19   conditions, the president pledged to “expand significantly” Acthar’s sales force in the
20   fields of rheumatology and pulmonology in the upcoming year. That sales effort was
21   wildly successful at expanding the market for Acthar beyond infantile spasms. Now
22   fewer than 10% of Acthar’s sales come from prescriptions for infantile spasms, and
23   more than 98% of Humana’s expenditures for Acthar were made for insureds over the
24   age of 18.
25         106. A 2018 study published in JAMA Network Open concluded that
26   “[a]ggressive sales tactics and payments from [Mallinckrodt] may influence prescribing
27   behavior for [Acthar].” Indeed their “findings suggest that financial conflicts of interest
28   may be driving use of corticotropin in the Medicare program.” The study examined

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 1   Medicare data about the providers who submitted more than ten claims for Acthar. It
 2   noted that “[a]mong the 50 prescribers (21.3%) who received more than $10 000 in
 3   payments during the year [2015], corticotropin expenditures per prescriber (mean [SD],
 4   $1 304 884 [$1 022 937]) were more than double that of the 45 prescribers (19.2%)
 5   who received $25 or less (mean [SD], $594 976 [$256 357]).” The study’s invariable
 6   regression analysis further showed that “Medicare spending on [Acthar] increased by
 7   7.9% (approximately $53 000) for every $10 000 increase in payments to prescribers,”
 8   or a return of investment of approximately 5:1. The study further noted that 207 of 235
 9   frequent corticotropin prescribers (88%) who submitted more than 10 claims received a
10   corticotropin-related payment from Mallinckrodt. By contrast, a recent study found that
11   among all specialists, only 35% receive payments from the pharmaceutical industry.
12         107. From 2013 to 2016, Mallinckrodt paid doctors nearly $27.5 million in
13   Acthar-related payments. A handful of doctors received unusually large sums of money:
14   during the same period, Mallinckrodt paid more than $6.5 million to only 288
15   prescribers for consulting, promotional speaking, and other services related to Acthar.
16         108. Many of the top prescribers to Humana’s members have been paid
17   substantial fees by Mallinckrodt. These include the following:
                                                     Amount Paid By       Amount Humana
18        Prescribing                               Mallinckrodt to the    Paid for Acthar
                               Specialty
            Doctor                                  Prescribing Doctor    Prescriptions by
19                                                   (Payment Dates)        These Doctors
               1        Int. Med./Sarcoidosis      $116,000 (2013-2015)       $10,672,325
20             2        Rheumatology                $22,762 (2013-2015)         $4,841,709
               3        Rheumatology               $273,937 (2013-2016)         $3,459,480
21             4        Neurology                     $142,978 (2013)           $2,723,683
               5        Rheumatology               $267,701 (2013-2016)         $1,928,838
22             6        Rheumatology               $370,970 (2013-2016)           $778,060
23             7        Psychiatry/Neurology       $345,913 (2013-2016)           $739,894
               8        Rheumatology               $224,713 (2013-2016)           $612,561
24             9        Neurology                  $332,393 (2013-2016)           $379,250

25   The goal of Mallinckrodt’s scheme was to increase its sales of Acthar at the expense of
26   those who paid for it—primarily health insurers such as Humana. Mallinckrodt required
27   the assistance and complicity of the Prescribing Doctors to achieve its ends. It knew
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 1   that in order to increase the prescription rates of Acthar, the Prescribing Doctors would
 2   need to prescribe Acthar in situations in which it was not called for and in lieu of
 3   considerably more cost-effective medications.
 4                   3.   False Representations and Certifications
 5         109. In order to effectuate its scheme, Mallinckrodt either made or caused to be
 6   made three kinds of false representations and certifications directly to Humana.
 7         110. First, Mallinckrodt directly misrepresented to Humana that it was
 8   complying with state and federal law, including laws related bribery, kickbacks, and
 9   false claims.
10         111. When a pharmacy dispenses drugs to a Humana Part D member, the
11   pharmacy submits a claim to Humana, which in turn submits an electronic record of the
12   claim, called a Prescription Drug Event (“PDE”), to CMS. After dispensing the drug,
13   the pharmacy receives reimbursement from Humana for the portion of the drug cost not
14   paid by the Part D member at the point of sale.
15         112. PDE claims data are necessary for CMS to administer the Part D program
16   and to reimburse Part D Plan Sponsors such as Humana. Generating and submitting
17   PDE data is a condition of payment for CMS' provision of Medicare funds to Part D
18   Plan sponsors. See 42 C.F.R. § 423.322.
19         113. Part D Plan Sponsors must comply with “[f]ederal laws and regulations
20   designed to prevent fraud, waste, and abuse, including, but not limited to, applicable
21   provisions of Federal criminal law, the False Claims Act (31 U.S.C. § 3729, et seq.),
22   and the anti-kickback statute (§ 1127B(b)) of the Act).” 42 C.F.R. § 423.505(h)(l). Any
23   “downstream” or “related” entities that Part D Plans subcontract with (including
24   pharmacies dispensing medication and manufacturers selling medication) must also
25   comply with these, and any other, contractual obligations of the Part D Plan and with all
26   applicable federal laws, regulations, and CMS instructions. See 42 C.F.R. §
27   423.505(i)(3).
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 1         114. CMS regulations require Part D Plan Sponsors and related “downstream”
 2   entities that generate and submit PDE claims data to certify that such data is true,
 3   accurate, and complete and that the PDE data is the basis for obtaining federal
 4   reimbursement for the health care products or services reflected therein. Id.
 5   § 423.505(k). Congress has determined that any Medicare claim “that includes items or
 6   services resulting from a violation of [the AKS] constitutes a false or fraudulent claim
 7   for purposes of [the FCA].” 42 U.S.C. § 1320a-7b(g).
 8         115. Mallinckrodt and its captive agent CuraScript made such certifications and
 9   therefore directly misrepresented to Humana that they were complying with federal law.
10         116. Second, when providers, including the Prescribing Doctors, prescribe
11   pharmaceutical treatment, they must generally obtain prior authorization from insurers
12   such as Humana. By going through the prior authorization process, the Prescribing
13   Doctors represent to Humana that the prescription medication is medically necessary,
14   up-to-date, and non-duplicative. They are further representing that they are not violating
15   state or federal law applicable to the provision of their services.
16         117. Mallinckrodt, CDF, and the Prescribing Doctors knew that offering or
17   accepting money or other consideration in exchange for prescriptions was a violation of
18   the law and CMS policies and procedures. Mallinckrodt, CDF, and the Prescribing
19   Doctors knew that their enterprise was a violation of these rules because it involved a
20   payment in exchange for an increased rate of prescriptions.
21         118. Through its unlawful payments to the Prescribing Doctors and its
22   payments to patients through the CDF funds, Mallinckrodt caused false certifications
23   and representations to be made to Humana during the prior authorization process.
24         119. Third, Humana members are required to pay what they owe for drug
25   coverage under Medicare Part D and other kinds of plans, and they are advised in their
26   evidence of coverage documents that they must pay their share of the cost when they
27   obtain prescription drugs. Through its illegal scheme to pay patient co-pays through
28   phony charitable funds at CDF, Mallinckrodt caused Humana members to

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 1   unintentionally misrepresent that they had paid their contractual share of prescription
 2   drug coverage.
 3                4.     Use of the Mails and Wires
 4         120. Throughout the relevant period, Mallinckrodt, CDF, and the Prescribing
 5   Doctors used thousands of mail and interstate wire communications to create and
 6   manage their scheme, which involved nationwide distribution of Acthar through the
 7   Prescribing Doctors and CuraScript at the direction of Mallinckrodt. Mallinckrodt
 8   communicated with the Prescribing Doctors through the mails and wires, caused
 9   thousands of reimbursement requests to be submitted by the Prescribing Doctors over
10   the wires or by mail, and made illegal kickback payments to the Prescribing Doctors
11   over the wires or by mail.
12         E.     Mallinckrodt’s Fraudulent Concealment of the Illegal Scheme
13         121. Mallinckrodt actively concealed the existence of its illegal scheme and the
14   acts underlying it through false or misleading statements to Humana and to the public.
15   Mallinckrodt falsely maintained that it would develop and seek FDA approval of
16   Synacthen when in reality it purposefully failed to put the effort and resources into
17   obtaining a broad FDA approval of Synacthen as an alternative to Acthar. Mallinckrodt
18   also failed to disclose to Humana its arrangements with CDF that created specialized
19   funds that were illegally to reimburse co-payments for Acthar, despite its certifications
20   to Humana that it was following federal law and CMS rules that prohibited such co-
21   payment subsidies for Medicare patients. Finally, Mallinckrodt also failed to disclose its
22   kickback payments to doctors that violated federal law and CMS rules despite its
23   certifications to Humana that it was abiding by such laws and CMS rules.
24         122. Due to Mallinckrodt’s fraudulent concealment, Humana could not have
25   discovered and remained unaware of the foregoing conduct until the Federal Trade
26   Commission and the United States Department of Justice brought these acts and
27   practices to light through investigations, legal actions, and/or settlements.
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 1         F.     Damages
 2         123. As a result of Mallinckrodt’s multipronged scheme to inflate Acthar’s
 3   price and utilization, Humana incurred significant losses. A substantial portion of
 4   Humana’s business is evaluating, underwriting, and managing risks involved in insuring
 5   healthcare costs. As a commercial insurer, Humana bears significant risk of utilization
 6   of unnecessary, ineffective, or uneconomical medical care. The same is true for
 7   Humana’s Medicare plans.
 8         124. For Humana’s Medicare business, Humana bears the risk of rising
 9   prescription drug prices and utilization in part through Part D “risk corridors” and
10   Medicare Advantage capitation payments. Both of these Medicare provisions shift risk
11   from the federal government to Humana to pay for some or all of the increased costs of
12   prescription drugs for the Medicare members it covers. As such, Humana benefits
13   financially when costs and utilization of prescription drugs are lower than expected and
14   conversely it is harmed when costs and utilization of prescription drugs are higher than
15   expected. In addition, for the portion of costs covered by the government under these
16   programs, Humana bears a risk of non-payment if claims are found to be false or
17   fraudulent by the government.
18         125. The risk of fraudulent claims is one that is shared by Humana and the
19   government sponsors of healthcare plans that Humana administers. Therefore the
20   claims of the government and the claims of Humana against Mallinckrodt are
21   substantially the same.
22         126. Mallinckrodt’s scheme was designed to cause and did cause Humana and
23   others to pay for Acthar prescriptions that they would otherwise not have reimbursed
24   and to pay more for those prescriptions than they otherwise would have paid. Humana
25   was among the group of health insurers who were the targets of Mallinckrodt’s scheme.
26   Mallinckrodt knew that nearly all of its sales of Acthar in the United States would be
27   sold to patients who carried prescription drug insurance that would bear the majority of
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 1   Acthar’s cost. Humana’s insurance plans bore the majority of Acthar’s costs for its
 2   members and was directly injured as a result of Mallinckrodt’s illegal conduct.
 3         127. But for Mallinckrodt’s scheme to perpetuate its ACTH monopoly, illegally
 4   subsidize Humana’s members’ co-pays, and pay kickbacks to Prescribing Doctors,
 5   Humana would have paid for fewer Acthar prescriptions and it would have paid less for
 6   those prescriptions that it otherwise would have covered. Specifically, but for
 7   Mallinckrodt’s monopolistic conduct, including its acquisition of Synacthen, Humana
 8   would have benefitted from increased competition in the market for ACTH drugs and
 9   would have either paid lower prices for Acthar or it would have steered its members to
10   lower priced Synacthen. Similarly, but for Mallinckrodt’s kickbacks, Mallinckrodt and
11   the Prescribing Doctors would not have defrauded Humana by falsely certifying their
12   compliance with federal and state law through submissions for reimbursements for
13   Acthar prescriptions. Finally, but for Mallinckrodt’s kickback scheme and illegal co-
14   pay assistance through CDF, prescription rates for Acthar would have been lower, and
15   Humana members would have received different care from their physicians that was
16   more effective, less harmful, or more cost effective than doses of Acthar.
17         128. As a consequence of Mallinckrodt’s conduct, Humana paid over $700
18   million for Acthar prescriptions. In the absence of such conduct, Humana would have
19   paid a small fraction of that amount. Humana has also incurred administrative,
20   investigative, legal, and other costs as a result of Mallinckrodt’s conduct.
21                                            Count I
22                  Violation of the Sherman Antitrust Act, 15 U.S.C. § 2
23         129. Humana incorporates by reference each of the above paragraphs of this
24   Complaint as though fully stated herein.
25         130. Mallinckrodt has, and at all relevant times had, monopoly power in the
26   market for the sale of ACTH drugs in the United States.
27         131. By intervening in the bidding process for Synacthen and purchasing the
28   exclusive license to market Synacthen in the United States, Mallinckrodt eliminated the

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 1   potential competitive threat posed by an independently owned Synacthen license.
 2   Mallinckrodt’s conduct was reasonably capable of contributing significantly to the
 3   preservation of Mallinckrodt’s monopoly power and monopoly pricing of Acthar in the
 4   United States.
 5         132. The effect of Mallinckrodt’s actions to maintain its monopoly was to
 6   stabilize or raise the price of Acthar to a higher level than it would have commanded in
 7   the absence of the monopolistic conduct.
 8         133. Humana suffered injuries when it paid those higher prices.
 9         134. Defendants’ acts and practices constitute monopolization in violation of
10   Section 2 of the Sherman Act, 15 U.S.C. § 2.
11                                          Count II
12                    Violation of the Sherman Antitrust Act, 15 U.S.C. § 1
13         135. Humana incorporates by reference each of the above paragraphs of this
14   Complaint as though fully stated herein.
15         136. Mallinckrodt entered into an exclusive agreement with Novartis to license
16   the right to market Synacthen in the United States.
17         137. That agreement restrained trade in the market for the sale of ACTH drugs
18   in the United States.
19         138. The effect of that agreement was to maintain or raise the price of Acthar to
20   a higher level than it would have commanded in the absence of the agreement.
21         139. Humana suffered injuries when it paid those higher prices.
22         140. The agreement between Mallinckrodt and Novartis constitutes an
23   anticompetitive agreement in restraint of trade in violation of Section 1 of the Sherman
24   Act, 15 U.S.C. § 1.
25                                          Count III
26                             Violation of State Antitrust Laws
27         141. Humana incorporates by reference each of the above paragraphs of this
28   Complaint as though fully stated herein.

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 1         142. The aforementioned practices by Defendants that violate Sections 1 and 2
 2   of the Sherman Act were and are also violations of the following states’ antitrust laws:
 3            a.    Ala. Code § 6-5-60, et seq. (Alabama);
 4            b.    Ariz. Rev. Stat. Ann. § 44-1401, et seq. (Arizona);
 5            c.    Cal. Bus. & Prof. Code § 16750, et seq. (California);
 6            d.    Conn. Gen. Stat. Ann. § 35-24, et seq. (Connecticut);
 7            e.    D.C. Code Ann. § 28-4501, et seq. (D.C.);
 8            f.    Fla. Stat. Ann. § 501.201, et seq. (Florida);
 9            g.    Haw. Rev. Stat. Ann. § 480-1, et seq. (Hawaii);
10            h.    740 Ill. Comp. Stat. Ann. 10/1, et seq. (Illinois);
11            i.    Iowa Code Ann. § 553.1, et seq. (Iowa);
12            j.    Kan. Stat. Ann. § 50-101, et seq. (Kansas);
13            k.    Me. Rev. Stat. tit. 10, § 1101, et seq. (Maine);
14            l.    Mich. Comp. Laws Ann. § 445.771, et seq. (Michigan);
15            m.    Minn. Stat. Ann. § 325D.49, et seq. (Minnesota);
16            n.    Miss. Code. Ann. § 75-21-1, et seq. (Mississippi);
17            o.    Neb. Rev. Stat. Ann. § 59-801, et seq. (Nebraska);
18            p.    Nev. Rev. Stat. Ann. § 598A.010, et seq. (Nevada);
19            q.    N.M. Stat. Ann. § 57-1-1, et seq. (New Mexico);
20            r.    N.Y. Gen. Bus. Law § 340, et seq. (New York);
21            s.    N.C. Gen. Stat. § 75-1, et seq. (North Carolina);
22            t.    Or. Rev. Stat. Ann. § 646.705, et seq. (Oregon);
23            u.    S.D. Codified Laws § 37-1-3.1, et seq. (South Dakota);
24            v.    Tenn. Code Ann. § 47-25-101, et seq. (Tennessee);
25            w.    Utah Code Ann. § 76-10-3101, et seq. (Utah);
26            x.    Vt. Stat. Ann. tit. 9, § 2451, et seq. (Vermont);
27            y.    Wis. Stat. Ann. § 133.01, et seq. (Wisconsin).
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 1                                           Count IV
 2                      Violation of the RICO Act, 18 U.S.C. § 1962(c)
 3          143. Humana incorporates by reference each of the above paragraphs of this
 4   Complaint as though fully stated herein.
 5          144. Mallinckrodt is a “person” within the meaning of 18 U.S.C. § 1961(3),
 6   who conducted the affairs of an enterprise through a pattern of racketeering activity in
 7   violation of 18 U.S.C. § 1962(c).
 8          145. The Acthar Enterprise is an association-in-fact within the meaning of 18
 9   U.S.C. § 1961(4), consisting of Mallinckrodt, Express Scripts and its relevant
10   subsidiaries (including CuraScript), CDF, and the Prescribing Doctors—including their
11   corporate parents, siblings, subsidiaries, employees, and agents. The Acthar Enterprise
12   was an ongoing organization that functioned as a continuing unit. The Acthar Enterprise
13   was created and/or used as a tool to effectuate a pattern of racketeering activity.
14   Mallinckrodt, Express Scripts, CuraScript, CDF, and the Prescribing Doctors are each
15   “persons” distinct from the Acthar Enterprise.
16          146. Mallinckrodt established the Acthar Enterprise to fraudulently increase its
17   sales of Acthar. Mallinckrodt subsidized co-pays through CDF, and paid the Prescribing
18   Doctors, in exchange for an increased rate of prescriptions of Acthar in lieu of less
19   expensive alternative treatment. Mallinckrodt, CDF, and the Prescribing Doctors knew
20   that their scheme violated federal and state laws.
21          147. Such payments also violated state commercial bribery statutes which
22   prohibit offering anything of value to a fiduciary for the purpose of altering the
23   fiduciary’s conduct towards those to whom he owes fiduciary duties. Doctors, like the
24   Prescribing Doctors, owe fiduciary duties to their patients to offer medical advice and
25   counseling based on the best interest of the patient, not what is in their own pecuniary
26   interest.
27          148. False representations of compliance with federal and state laws were made
28   to Humana for payment over the wires or by mail. These false representations were

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 1   made directly to Humana and were a condition of reimbursement by Humana for all
 2   Acthar claims submitted by the Prescribing Doctors. The illegal payments were sent
 3   over the wires or by mail to the Prescribing Doctors and to CDF.
 4         149. The Acthar Enterprise engaged in and affected interstate commerce
 5   because, among other things, it marketed, sold, purchased, or provided Acthar to
 6   thousands of individuals throughout the United States.
 7         150. Mallinckrodt has asserted control over the Acthar Enterprise by issuing
 8   payments to doctors who prescribed Acthar as treatment for conditions for which more
 9   affordable alternative treatments were readily available. Mallinckrodt asserted control
10   over the enterprise by utilizing one exclusive distributor, CuraScript, and setting the
11   price of Acthar paid by Humana.
12         151. Mallinckrodt has asserted control over the Acthar Enterprise by designing,
13   organizing, and funding the phony charitable funds at CDF used for Acthar co-pays.
14         152. Mallinckrodt has conducted and participated in the affairs of the Acthar
15   Enterprise through a pattern of racketeering activity that includes acts indictable under
16   18 U.S.C. §§ 1341 (mail fraud), 1343 (wire fraud), 1952 (use of interstate facilities to
17   conduct unlawful activity), and state bribery statutes.
18         153. The effect of Mallinckrodt’s racketeering activity was to induce sales of
19   Acthar that otherwise would not have been made in the absence of the illegal conduct
20   and to maintain or raise the price of Acthar to a higher level than it would have
21   commanded in the absence of the illegal conduct.
22         154. Humana suffered injuries when it reimbursed those prescriptions for
23   Acthar that otherwise would not have been made and/or paid the higher prices that
24   resulted from the illegal conduct.
25         155. Humana’s injuries were directly and proximately caused by Mallinckrodt’s
26   racketeering activities as described above.
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 1         156. By virtue of these violations of 18 U.S.C. § 1962(c), Mallinckrodt is
 2   jointly and severally liable to Humana for three times the damages Humana has
 3   sustained, plus the cost of this suit, including reasonable attorneys’ fees.
 4                                            Count V
 5                Conspiracy to Violate the RICO Act, 18 U.S.C. § 1962(d)
 6         157. Humana incorporates by reference each of the above paragraphs of this
 7   Complaint as though fully stated herein.
 8         158. Title 18 U.S.C. § 1962(d) provides that it “shall be unlawful for any person
 9   to conspire to violate any of the provisions of subsection (a), (b) or (c) of this section.”
10         159. Mallinckrodt has violated 18 U.S.C. § 1962(d) by conspiring with the
11   Prescribing Doctors, CuraScript, and CDF to violate 18 U.S.C. §1962(c). The object of
12   this conspiracy has been and is to conduct or participate in, directly or indirectly, the
13   conduct of the affairs of the Acthar Enterprise described previously through a pattern of
14   racketeering activity.
15         160. Mallinckrodt and its co-conspirators have engaged in numerous overt and
16   predicate fraudulent racketeering acts in furtherance of the conspiracy, including
17   material misrepresentations and omissions designed to defraud Humana of money.
18         161. The nature of the above-described Mallinckrodt’s co-conspirators’ acts,
19   material misrepresentations, and omissions in furtherance of the conspiracy gives rise to
20   an inference that they not only agreed to the objective of an 18 U.S.C. § 1962(d)
21   violation of RICO by conspiring to violate 18 U.S.C. § 1962(c), but they were aware
22   that their ongoing fraudulent and extortionate acts have been and are part of an overall
23   pattern of racketeering activity.
24         162. As a direct and proximate result of Mallinckrodt’s overt acts and predicate
25   acts in furtherance of violating 18 U.S.C. § 1962(d) by conspiring to violate 18 U.S.C.
26   § 1962(c), Humana has been injured in its business and property as set forth more fully
27   above.
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 1           163. Mallinckrodt and its co-conspirators have sought to and have engaged in
 2   the commission of overt acts, including the following unlawful racketeering predicate
 3   acts:
 4              a.   Multiple instances of mail and wire fraud in violation of 18 U.S.C. §§
 5                   1341 and 1342;
 6              b.   Multiple instances of mail fraud in violation of 18 U.S.C. §§ 1341 and
 7                   1346;
 8              c.   Multiple instances of wire fraud in violation of 18 U.S.C. §§ 1343 and
 9                   1346;
10              d.   Multiple instances of unlawful activity in violation of 18 U.S.C. §1952;
11              e.   Multiple instances of bribery in violation of state statutes, including but
12                   not limited to Cal. Penal Code § 641.3, 720 Ill. Comp. Stat. 5/29A-1,
13                   Tex. Penal Code § 32.43, N.J. Stat. § 2C:21-10, and N.Y. Penal Law §
14                   180.00.
15           164. The purpose and effect of the conspiracy was to induce sales of Acthar that
16   otherwise would not have been made in the absence of the illegal conduct and to
17   maintain or raise the price of Acthar to a higher level than it would have commanded in
18   the absence of the illegal conduct.
19           165. Humana suffered injuries when it reimbursed those prescriptions for
20   Acthar that otherwise would not have been made and/or paid the higher prices that
21   resulted from the illegal, conspiratorial conduct.
22           166. Humana’s injuries were directly and proximately caused by Mallinckrodt’s
23   racketeering activities as described above.
24           167. By virtue of these violations of 18 U.S.C. § 1962(d), Mallinckrodt is
25   jointly and severally liable to Humana for three times the damages Humana has
26   sustained, plus the cost of this suit, including reasonable attorneys’ fees.
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 1                                            Count VI
 2                            State Unfair Competition Law Claims
 3         168. Humana incorporates by reference each of the above paragraphs of this
 4   Complaint as though fully stated herein.
 5         169. Mallinckrodt and its co-conspirators have engaged in fraudulent and
 6   deceptive business practices that violate the state unfair competition laws of Alabama,
 7   Alaska, Arizona, Arkansas, California, Colorado, Connecticut, the District of Columbia,
 8   Delaware, Florida, Georgia, Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas, Kentucky,
 9   Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi,
10   Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico,
11   New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania,
12   Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Utah, Vermont,
13   Virginia, Washington, West Virginia, Wisconsin, and Wyoming.
14         170. Mallinckrodt and its co-conspirators have engaged in unfair competition
15   under the states’ laws by unlawfully making and accepting remuneration in exchange
16   for the sale of Acthar to Humana and its members in consumer transactions. This
17   conduct violated the federal AKS and equivalent state statutes and caused the
18   certifications of compliance with law provided by the Prescribing Doctors to Humana to
19   be fraudulent.
20         171. Plaintiff Humana was directly and proximately injured by Mallinckrodt
21   and its co-conspirators’ conduct and would not have paid what it did for Acthar had
22   Mallinckrodt fully disclosed its schemes.
23         172. Mallinckrodt engaged in wrongful conduct while at the same time
24   obtaining under false pretenses a significant sum of money from plaintiff Humana.
25   Humana suffered injury in fact and actual damages including lost money and property
26   as a result of Mallinckrodt’s violations of:
27             a.     Ala. Code § 8-19-1, et seq. (Alabama);
28             b.     A.S. § 45.50.471(a), et seq. (Alaska);

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 1        c.    Ariz. Rev. Stat. Ann. § 44-1521, et seq. (Arizona);
 2        d.    Ark. Code Ann. § 4-88-101, et seq. (Arkansas);
 3        e.    Cal. Bus. & Prof. Code § 17200, et seq. (California);
 4        f.    Colo. Rev. Stat. § 6-1-101, et seq. (Colorado);
 5        g.    Conn. Gen. Stat. § 42-110a, et seq. (Connecticut);
 6        h.    D.C. Code § 28-3901, et seq. (D.C.);
 7        i.    Del. Code Ann. tit. 6, § 2511, et seq. (Delaware);
 8        j.    Fla. Stat. § 501.201, et seq. (Florida);
 9        k.    Ga. Code Ann. § 10-1-390, et seq. (Georgia);
10        l.    Haw. Rev. Stat. §§ 480-2, et seq. (Hawaii);
11        m.    Idaho Code Ann. § 48-601, et seq. (Idaho);
12        n.    815 Ill. Comp. Stat. 505/1, et seq. (Illinois);
13        o.    Ind. Code § 24-5-0.5-1, et seq. (Indiana);
14        p.    Iowa Code § 714.16, et seq. (Iowa);
15        q.    Kan. Stat. Ann. § 50-623, et seq. (Kansas);
16        r.    Ky. Rev. Stat. Ann. § 367.110, et seq. (Kentucky);
17        s.    La. Rev. Stat. Ann. § 51:1401, et seq. (Louisiana);
18        t.    Me. Rev. Stat. Ann. tit. 5, § 205A, et seq. (Maine);
19        u.    Md. Code Ann., Com. Law § 13-101, et seq. (Maryland);
20        v.    Mass. Gen. Laws Ann. ch. 93A, § 1, et seq. (Massachusetts);
21        w.    Mich. Comp. Laws § 445.901, et seq. (Michigan);
22        x.    Minn. Stat. § 325F.68, et seq. (Minnesota);
23        y.    Miss. Code Ann. § 75-24-1, et seq. (Mississippi);
24        z.    Mo. Rev. Stat. § 407.010, et seq. (Missouri);
25        aa.   Mont. Code Ann. § 30-14-101, et seq. (Montana);
26        bb. Neb. Rev. Stat. § 59-1601, et seq. (Nebraska);
27        cc.   Nev. Rev. Stat. § 598.0903, et seq. (Nevada);
28        dd. N.H. Rev. Stat. Ann. § 358-A:1, et seq. (New Hampshire);

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 1            ee.   N.J. Stat. Ann. § 56:8-1, et seq. (New Jersey);
 2            ff.   N.M. Stat. § 57-12-1, et seq. (New Mexico);
 3            gg. N.Y. Gen. Bus. Law § 349, et seq. (New York);
 4            hh. N.C. Gen. Stat. § 75-1.1, et seq. (North Carolina);
 5            ii.   N.D. Cent. Code § 51-15-01, et seq. (North Dakota);
 6            jj.   Ohio Rev. Code Ann. § 1345.01, et seq. (Ohio);
 7            kk. Okla. Stat. tit. 15, § 751, et seq. (Oklahoma);
 8            ll.   O.R.S. 646.607, et seq. (Oregon);
 9            mm. Pa. Stat. Ann. § 201-1, et seq. (Pennsylvania);
10            nn. R.I. Gen. Laws § 6-13.1-1, et seq. (Rhode Island);
11            oo. S.C. Code Ann. § 39-5-10, et seq. (South Carolina);
12            pp. S.D. Codified Laws § 37-24-1, et seq. (South Dakota);
13            qq. Tenn. Code Ann. § 47-18-101, et seq. (Tennessee);
14            rr.   Tex. Bus. & Com. Code Ann. § 17.41, et seq. (Texas);
15            ss.   Utah Code Ann. § 13-11-1, et seq. (Utah);
16            tt.   Vt. Stat. Ann. tit. 9, § 2451, et seq. (Vermont);
17            uu. Va. Code Ann. § 59.1-196, et seq. (Virginia);
18            vv. Wash. Rev. Code § 19.86.010, et seq. (Washington);
19            ww. W. Va. Code § 46A-6-101, et seq. (West Virginia);
20            xx. Wis. Stat. § 100.18, et seq. (Wisconsin);
21            yy. Wyo. Stat. Ann. § 40-12-101, et seq. (Wyoming).
22         173. Pursuant to these states’ laws, Humana seeks judgment in its favor and
23   against Mallinckrodt requiring Mallinckrodt to pay restitution of wrongful profits,
24   revenues, and benefits received as a result of the Acthar schemes.
25                                          Count VII
26           State Consumer Fraud and Deceptive Trade Practice Law Claims
27         174. Humana incorporates by reference each of the above paragraphs of this
28   Complaint as though fully stated herein.

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 1         175. Mallinckrodt and its co-conspirators have engaged in fraudulent and
 2   deceptive business practices that violate the state consumer fraud, consumer protection ,
 3   and/or deceptive trade practices laws of Arizona, Arkansas, California, Colorado,
 4   Connecticut, Florida, Georgia, Illinois, Indiana, Louisiana, Maryland, Massachusetts,
 5   Michigan, Minnesota, Nebraska, Nevada, New Hampshire, North Carolina, South
 6   Carolina, Tennessee, and Wisconsin, and in particular the following laws:
 7            a.    Ariz. Rev. Stat. Ann. § 44-1521, et seq. (Arizona);
 8            b.    Ark. Code Ann. § 4-88-101, et seq. (Arkansas);
 9            c.    Cal. Bus. & Prof. Code § 17200, et seq. (California);
10            d.    Colo. Rev. Stat. § 6-1-101, et seq. (Colorado);
11            e.    Conn. Gen. Stat. § 42-110a, et seq. (Connecticut);
12            f.    Fla. Stat. § 501.201, et seq. (Florida);
13            g.    Ga. Code Ann. § 10-1-390, et seq. (Georgia);
14            h.    815 Ill. Comp. Stat. 505/1, et seq. (Illinois);
15            i.    Ind. Code § 24-5-0.5-1, et seq. (Indiana);
16            j.    La. Rev. Stat. Ann. § 51:1401, et seq. (Louisiana);
17            k.    Md. Code Ann., Com. Law § 13-101, et seq. (Maryland);
18            l.    Mass. Gen. Laws Ann. ch. 93A, § 1, et seq. (Massachusetts);
19            m.    Mich. Comp. Laws § 445.901, et seq. (Michigan);
20            n.    Minn. Stat. § 325F.68, et seq. (Minnesota);
21            o.    Neb. Rev. Stat. § 59-1601, et seq. (Nebraska);
22            p.    Nev. Rev. Stat. § 41.600, et seq. (Nevada);
23            q.    N.H. Rev. Stat. Ann. § 358-A:1, et seq. (New Hampshire);
24            r.    N.C. Gen. Stat. § 75-1.1, et seq. (North Carolina);
25            s.    S.C. Code Ann. § 39-5-10, et seq. (South Carolina);
26            t.    Tenn. Code Ann. § 47-18-101, et seq. (Tennessee);
27            u.    Wis. Stat. § 100.18, et seq. (Wisconsin).
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 1         176. Humana is a person or consumer entitled to protection under the foregoing
 2   state laws.
 3         177. Mallinckrodt directly misrepresented to Humana that it was complying
 4   with federal and state laws, including laws against bribery, kickbacks, and false claims
 5   to the government. In addition, through its payments to doctors, Mallinckrodt induced
 6   the Prescribing Doctors to falsely certify to Humana through the prior authorization
 7   process that they had not received any illegal kickbacks from manufacturers.
 8         178. Mallinckrodt intended payors such as Humana to rely on these
 9   certifications. The intention may be inferred by the very nature of the representation,
10   whose sole purpose is to procure payment for Acthar.
11         179. These representations and certifications were made in an effort by
12   Mallinckrodt to sell Acthar to the consuming public, and were addressed to the market
13   generally by having Acthar paid for at inflated prices by Medicare, Medicaid, and third-
14   party payors such as Humana. The ultimate consequence of this conduct is a significant
15   injury to the consuming public by, among other things, imposing additional costs on the
16   taxpaying public for Medicare, raising the cost of insurance, and obstructing the
17   availability of Acthar and its synthetic substitute to consumers.
18         180. Humana relied on these misrepresentations to its detriment, which were
19   material to its decision to pay for Acthar treatments.
20         181. Humana was directly and proximately injured by Mallinckrodt and its co-
21   conspirators’ conduct, suffered an injury in fact, and suffered actual, ascertainable
22   damages. Humana would not have paid for Acthar, or would have paid only a small
23   fraction of the amount it actually did pay, had Mallinckrodt refrained from engineering
24   the false representations or otherwise disclosed its schemes.
25         182. Mallinckrodt’s conduct offends established public policy and the public
26   interest, and is immoral, unethical, oppressive, unscrupulous, and substantially injurious
27   to consumers.
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 1                                          Count VIII
 2                               State Insurance Fraud Claims
 3         183. Humana incorporates by reference each of the above paragraphs of this
 4   Complaint as though fully stated herein.
 5         184. Mallinckrodt and its co-conspirators have committed insurance fraud in
 6   violation of the laws of California, Illinois, Kentucky, Pennsylvania, New Jersey, North
 7   Carolina, and Tennessee, and in particular the following laws:
 8            a.    Cal. Ins. Code §1871, et seq. (California);
 9            b.    720 ILCS 5/17-10.5; 740 ILCS 92/1, et seq.(Illinois);
10            c.     Ky. Rev. Stat. § 304.47-011, et seq. (Kentucky);
11            d.    18 Pa. Cons. Stat. Ann. § 4117 (Pennsylvania);
12            e.    N.J. Stat. § 17:33A, et seq. (New Jersey);
13            f.    N.C. Gen. Stat. §§ 58-2-160, et seq. (North Carolina);
14            g.    Tenn. Code Ann. §§ 56-53-101 (Tennessee).
15         185. Mallinckrodt knowingly presented or caused to be presented to Humana
16   statements in support of claims for insurance benefits for Acthar that it knew contained
17   false and/or misleading information. Mallinckrodt knew and intended that by engaging
18   in its schemes to pay kickbacks to doctors and illegally subsidize co-payments through
19   phony charitable funds that misleading and/or false information would be submitted to
20   Humana and other Medicare payors in connection with insurance claims.
21         186. The statements of the co-conspirator doctors who prescribed Acthar and
22   the pharmacies who filled Acthar prescriptions to Humana were false because they
23   certified compliance with federal and state laws and regulations that were not, in fact,
24   complied with. Among the laws which the doctors and pharmacies were not in
25   compliance with were the anti-kickback statutes.
26         187. The compliance certifications were material to Humana’s decision to
27   reimburse claims for Acthar that Mallinckrodt caused to be submitted. Had the
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 1   certification of compliance with federal and state laws and regulations been withheld or
 2   corrected by the doctors or pharmacies, Humana would not to have paid these claims.
 3         188. Humana’s injuries were directly and proximately caused by the false or
 4   misleading statements that Mallinckrodt made to it, or caused to be submitted to it, as
 5   described above.
 6                                           Count IX
 7                      Tortious Interference with Contractual Relations
 8         189. Humana incorporates by reference each of the above paragraphs of this
 9   Complaint as though fully stated herein.
10         190. Humana had valid and enforceable written contracts with each of its
11   members who were prescribed Acthar during the relevant period. These agreements
12   specify that members will pay their share of the costs for prescription drugs. The
13   purpose of this co-payment obligation is to provide an incentive to members to exercise
14   patient responsibility for health care costs, and so to help control health care and health
15   insurance costs on a larger scale.
16         191. Mallinckrodt was aware that patients were in contractual relationships with
17   payors, including Humana, providing for such requirements, because those
18   requirements are ubiquitous and, in the case of Medicare, are dictated by statutes and
19   regulations.
20         192. Mallinckrodt intended to and did induce Humana members to breach their
21   obligations by subsidizing their co-pays.
22         193. Humana was harmed by these breaches because it reimbursed claims for
23   Acthar that otherwise would not have been made.
24         194. Mallinckrodt has intentionally interfered with the contracts between
25   Humana and its members.
26         195. Humana seeks judgment in its favor and against Mallinckrodt, requiring
27   Mallinckrodt to pay monetary and punitive damages for the conduct described herein.
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 1                                             Count X
 2                                         Unjust Enrichment
 3            196. Humana incorporates by reference each of the above paragraphs of this
 4   Complaint as though fully stated herein.
 5            197. As the intended and expected result of their conscious wrongdoing as set
 6   forth in this Complaint, Mallinckrodt has profited and benefited from payments
 7   Humana made for Acthar as a result of its schemes.
 8            198. The circumstances of Mallinckrodt’s receipt of monies based on the
 9   conduct set forth in this Complaint are such that, in equity and good conscience,
10   Mallinckrodt should not retain such monies, the amount of which is to be determined at
11   trial.
12            199. Humana is entitled in equity to seek restitution of Mallinckrodt’s wrongful
13   profits, revenues and benefits received as a result of its schemes.
14            200. Humana states this claim to the extent that it is deemed not to have an
15   adequate legal remedy.
16                                    V.   PRAYER FOR RELIEF
17            201. Based on the foregoing, Humana requests that the Court enter an order
18   that:
19                  a.    Enters judgment in favor of Humana and against Defendants;
20                  b.    Awards Humana its actual damages in an amount to be determined
21                        at trial;
22                  c.    Awards Humana punitive damages;
23                  d.    Awards Humana treble damages under 15 U.S.C. § 15(a), 18 U.S.C.
24                        § 1964(c), or any other provision of law, including state law, that
25                        permits doubling or trebling of damages;
26                  e.    Awards Humana its attorneys’ fees and litigation costs under 15
27                        U.S.C. § 15(a), 18 U.S.C. § 1964(c), or any other provision of law,
28                        including state law, that permits recovery of such costs and fees;

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 1                f.     Awards Humana pre-and post-judgment interest; and
 2                g.     Provides any other relief that the Court deems proper.
 3                                       VI.   JURY DEMAND
 4         202. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial
 5   by jury on all issues so triable.
 6

 7    Dated:       August 8, 2019                 By:_____

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